                    Case 19-13256            Doc 1       Filed 09/26/19 Entered 09/26/19 10:43:13                              Desc Main
                                                           Document     Page 1 of 15
Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MASSACHUSETTS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Aral Restaurant Group of Fall River, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Friendly's Restaurant #689
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  352 Circuit St.                                                 PO Box 128
                                  Norwell, MA 02061                                               Norwell, MA 02061
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Plymouth                                                        Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  135 Marino Bishop Blvd. Fall River, MA 02721
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                    Case 19-13256                Doc 1       Filed 09/26/19 Entered 09/26/19 10:43:13                             Desc Main
Debtor
                                                               Document     Page 2 ofCase
                                                                                      15 number (if known)
          Aral Restaurant Group of Fall River, Inc.
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 7225

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                          Case number
                                                  District                                When                          Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                               Relationship
                                                  District                                When                         Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                    Case 19-13256            Doc 1        Filed 09/26/19 Entered 09/26/19 10:43:13                                 Desc Main
Debtor
                                                            Document     Page 3 ofCase
                                                                                   15 number (if known)
         Aral Restaurant Group of Fall River, Inc.
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
Case 19-13256   Doc 1   Filed 09/26/19 Entered 09/26/19 10:43:13   Desc Main
                          Document     Page 4 of 15
Case 19-13256   Doc 1   Filed 09/26/19 Entered 09/26/19 10:43:13   Desc Main
                          Document     Page 5 of 15
Case 19-13256   Doc 1   Filed 09/26/19 Entered 09/26/19 10:43:13   Desc Main
                          Document     Page 6 of 15
Case 19-13256   Doc 1   Filed 09/26/19 Entered 09/26/19 10:43:13   Desc Main
                          Document     Page 7 of 15
                      Case 19-13256                    Doc 1         Filed 09/26/19 Entered 09/26/19 10:43:13                                      Desc Main
                                                                       Document     Page 8 of 15

 Fill in this information to identify the case:
 Debtor name Aral Restaurant Group of Fall River, Inc.
 United States Bankruptcy Court for the: DISTRICT OF MASSACHUSETTS                                                                                    Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 ABC Disposal                                                                                                                                                               $2,121.54
 Service
 PO Box 50540
 New Bedford, MA
 02745
 ACE Service                                                                                                                                                                  $422.60
 27766 Network
 Place
 Lockbox 27766
 Chicago, IL
 60673-1277
 Altametrics                                                                                                                                                                  $378.35
 PO Box 809123
 Chicago, IL 60680
 Cape Cod Basesball                                                                                                                                                         $1,250.00
 League

 CliftonLarsonAllen                                                                                                                                                         $1,390.67
 LLP
 PO Box 829709
 Philadelphia, PA
 19182
 Duponte Electric                                                                                                                                                           $1,484.00
 117 Highland St.
 North Dartmouth,
 MA 02747
 Ecolab Pest                                                                                                                                                                $1,143.58
 PO Box 32027
 New York, NY 10087
 Ecolap Dishwasher                                                                                                                                                            $686.29
 Repair
 PO Box 32027
 New York, NY 10087




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                      Case 19-13256                    Doc 1         Filed 09/26/19 Entered 09/26/19 10:43:13                                      Desc Main
                                                                       Document     Page 9 of 15

 Debtor    Aral Restaurant Group of Fall River, Inc.                                                          Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Friendly's                                                                                                                                                               $13,869.01
 Franchising, LLC
 1855 Boston Rd.
 Ste. 200
 Wilbraham, MA
 01095
 Friendly's                                                      All assets                                          $55,000.00                        $0.00              $55,000.00
 Restaurants, LLC
 1855 Boston Rd.,
 Ste. 200
 Wilbraham, MA
 01095
 Lisa and Sousa                                                                                                                                                               $600.00
 5 Benefit St.
 Providence, RI
 02904
 Massachusetts                                                   Meals taxes                                                                                              $39,683.07
 Dept. of Revenue
 Bankruptcy Unit
 PO Box 9564
 Boston, MA
 02114-9564
 Mood Media                                                                                                                                                                   $514.29
 Morgan Coehen and
 Bacj
 7225 N. Mona Lisa
 Rd., Ste. 200
 Tucson, AZ 85741
 National Grid                                                                                                                                                            $13,967.10
 P.O. Box 11737
 Newark, NJ
 07101-4737
 North American                                                                                                                                                             $1,287.21
 2010 Claire Ct.
 Glenview, IL 60025
 Northern Bank and                                               All assets                                      $1,454,694.00                         $0.00          $1,454,694.00
 Trust Company
 275 Mishawum Rd.
 Woburn, MA 01801
 NUCO                                                                                                                                                                         $296.57
 PO Box 9011
 Stuart, FL 34995
 OnDeck                                                                                                                                                                     $5,461.52
 1400 Broadway
 New York, NY 10018
 Suburban                                                                                                                                                                     $705.98
 16 Southwest Park
 Westwood, MA
 02090




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                      Case 19-13256                    Doc 1         Filed 09/26/19 Entered 09/26/19 10:43:13                                      Desc Main
                                                                      Document     Page 10 of 15

 Debtor    Aral Restaurant Group of Fall River, Inc.                                                          Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Ziosk Financial                                                                                                                                                            $2,374.16
 Services, LLC
 12404 Park Central
 Dr.
 Ste. 350
 Dallas, TX 75251




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                 Case 19-13256                    Doc 1          Filed 09/26/19 Entered 09/26/19 10:43:13           Desc Main
                                                                  Document     Page 11 of 15




                                                               United States Bankruptcy Court
                                                                     District of Massachusetts
 In re      Aral Restaurant Group of Fall River, Inc.                                             Case No.
                                                                                 Debtor(s)        Chapter      11




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       September 26, 2019                                       /s/ Robert Arruda
                                                                      Robert Arruda/President
                                                                      Signer/Title




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    Case 19-13256   Doc 1   Filed 09/26/19 Entered 09/26/19 10:43:13   Desc Main
                             Document     Page 12 of 15

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                      ABC Disposal Service
                      PO Box 50540
                      New Bedford, MA 02745

                      ACE Service
                      27766 Network Place
                      Lockbox 27766
                      Chicago, IL 60673-1277

                      Altametrics
                      PO Box 809123
                      Chicago, IL 60680

                      Cape Cod Basesball League


                      Claudette Arruda
                      352 Circuit St.
                      Norwell, MA 02061

                      CliftonLarsonAllen LLP
                      PO Box 829709
                      Philadelphia, PA 19182

                      Coca-Cola
                      PO Box 1578
                      Atlanta, GA 30301

                      Corporation Service Company, as Rep.
                      PO Box 2576
                      Springfield, IL 62708

                      Duponte Electric
                      117 Highland St.
                      North Dartmouth, MA 02747

                      Ecolab Pest
                      PO Box 32027
                      New York, NY 10087

                      Ecolap Dishwasher Repair
                      PO Box 32027
                      New York, NY 10087

                      Friendly's Franchising, LLC
                      1855 Boston Rd. Ste. 200
                      Wilbraham, MA 01095

                      Friendly's Restaurants, LLC
                      1855 Boston Rd., Ste. 200
                      Wilbraham, MA 01095

                      Lisa and Sousa
                      5 Benefit St.
                      Providence, RI 02904
Case 19-13256   Doc 1   Filed 09/26/19 Entered 09/26/19 10:43:13   Desc Main
                         Document     Page 13 of 15


                  Massachusetts Dept. of Revenue
                  Bankruptcy Unit
                  PO Box 9564
                  Boston, MA 02114-9564

                  Mood Media
                  Morgan Coehen and Bacj
                  7225 N. Mona Lisa Rd., Ste. 200
                  Tucson, AZ 85741

                  National Grid
                  P.O. Box 11737
                  Newark, NJ 07101-4737

                  North American
                  2010 Claire Ct.
                  Glenview, IL 60025

                  Northern Bank and Trust Company
                  275 Mishawum Rd.
                  Woburn, MA 01801

                  NUCO
                  PO Box 9011
                  Stuart, FL 34995

                  OnDeck
                  1400 Broadway
                  New York, NY 10018

                  Suburban
                  16 Southwest Park
                  Westwood, MA 02090

                  Ziosk Financial Services, LLC
                  12404 Park Central Dr.
                  Ste. 350
                  Dallas, TX 75251
                 Case 19-13256                    Doc 1          Filed 09/26/19 Entered 09/26/19 10:43:13                 Desc Main
                                                                  Document     Page 14 of 15



                                                               United States Bankruptcy Court
                                                                     District of Massachusetts
 In re      Aral Restaurant Group of Fall River, Inc.                                                     Case No.
                                                                                 Debtor(s)                Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Aral Restaurant Group of Fall River, Inc. in the above captioned action, certifies that
the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10%
or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:



    None [Check if applicable]




 September 26, 2019                                                  /s/ Kate E. Nicholson
 Date                                                                Kate E. Nicholson 674842
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Aral Restaurant Group of Fall River, Inc.
                                                                     Nicholson P.C.
                                                                     21 Bishop Allen Dr.
                                                                     Cambridge, MA 02139
                                                                     857.600.0508 Fax:617.812.0405
                                                                     knicholson@nicholsonpc.com




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Case 19-13256   Doc 1   Filed 09/26/19 Entered 09/26/19 10:43:13   Desc Main
                         Document     Page 15 of 15
